
¶ 1 Department I of the Court, composed of Chief" Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its March 5, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
2 IT IS ORDERED:
¶ 3 That the petition for review is granted only on the issue of the challenge to the legal financial obligations. In light of this Court's decision in State of Washington v. David Angel Ramirez, 191 Wn.2d 732, 426 P.3d 714 (2018), and the 2018 amendment to the legal financial obligations statutes, this case is remanded to the trial court to reconsider the imposition of the requirement to pay the DNA fee.
For the Court
/s/ Fairhurst, CJ. CHIEF JUSTICE
